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 Waiver of lndictment                                                        Cr. Form No. lE




                        United States District Court
                                     FORTIIE

                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA"

                        Plaintiff,

                                                        Criminal No. 15-046 MJD)

ABDULLAHI MOHAMUD YUSUF,

                        Defendart.


       Abdullahi Yusuf, the above-named defendant" who is accused of conspiring to

provide material support to a designated foreign terrorist organization, in violation of

Title 18, United States Code, Section 2339B,beng advised of the nature of the charge

and of rights, hereby waives in open court prosecution by lndictment and consents that

the proceeding may be by Information instead of by lndictnent.



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                                        ABDLjLLAHI     ](l   SUF@efendant


                                        ANDREW R. WINIE& Witness
